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      IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF OKLAHOMA

MICHAEL A. CAMPBELL,                   )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )       No. CIV-18-467-R
                                       )
NIKKI GILLESPIE, et. al.,              )
                                       )
      Defendants.                      )

                           ORDER TO SHOW CAUSE

      Plaintiff, a state prisoner appearing pro se, initiated this action under 42

U.S.C. § 1983 on May 11, 2018. Doc. No. 1. Plaintiff submitted an Application for

Leave to Proceed In Forma Pauperis seeking leave to proceed without prepaying

the civil filing fees and costs. Doc. No. 3. Ultimately, because Plaintiff had

sufficient funds in his inmate account to pay the $400 filing fee but there was a hold

on the same, the Court conditionally granted Plaintiff’s request to proceed in forma

pauperis. Doc. No. 14.

      Specifically, the Court ruled that once Cimarron Correctional Facility

(“CCF”), where Plaintiff was incarcerated at that time, removed the hold on

Plaintiff’s account, he was “required to either immediately pay the full $400 filing

fee if there are sufficient funds in the account or submit an updated application and

certified copy of the trust fund account statement for consideration of a revised

payment plan.” Doc. No. 14 at 2. Said Order was entered over one year ago on June
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28, 2018, and to date, Plaintiff has neither paid the filing fee nor submitted an

updated application and certified copy of the trust fund account statement for

consideration of a revised payment plan. Additionally, during the past year, Plaintiff

has been transferred on two occasions and has not been incarcerated at CCF since

August 2018.

      Accordingly, Plaintiff is directed to either pay the $400 filing fee or show

cause through a written submission to the Court, no later than      August 1 , 2019,

why this action should not be dismissed. Failure to comply with this Order may

result in the dismissal of this action without further notice. Robledo-Valdez v.

Smelser, 593 F. App’x 771, 774-75 (10th Cir. 2014) (citing Fed. R. Civ. P. 41(b));

AdvantEdge Bus. Grp. v. Thomas E. Mestmaker & Assocs., 552 F.3d 1233, 1236

(10th Cir. 2009).

      IT IS SO ORDERED this         12th   day of    July, 2019.




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